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 1                                                               JUDGE ROBERT S. LASNIK
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 6
                             UNITED STATES DISTRICT COURT
 7
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9   UNITED STATES OF AMERICA,                    )   NO. CR11-411RSL
                                                  )
10                  Plaintiff,                    )
                                                  )
11             v.                                 )   ORDER GRANTING MOTION FOR
                                                  )   EARLY TERMINATEION OF
12   BOBBY BEASLEY,                               )   SUPERVISED RELEASE
                                                  )
13                  Defendant.                    )
                                                  )
14
15          This matter has come before the Court on the defendant’s motion to terminate
16   the remaining period of supervised release. In accordance with the Court’s Order of
17   October 16, 2015, that Mr. Beasley read “Between the World and Me” by Ta-Nehisi
18   Coates and report back to the Court by December 12, 2015, the defendant having
19   provided to the Court his report, and the Court’s review of the motion, records, and files
20   herein, as well as the factors set forth in 18 U.S.C. § 3553(a),
21          IT IS NOW ORDERED that Mr. Beasley’s term of supervised release be
22   terminated pursuant to 18 U.S.C. § 3564(c).
23          DONE this 21st day of December, 2015.
24
25                                              A
                                                ROBERT S. LASNIK
26                                              UNITED STATES DISTRICT JUDGE

                                                                  FEDERAL PUBLIC DEFENDER
      ORDER GRANTING MOTION FOR EARLY                                1601 Fifth Avenue, Suite 700
      TERMINATION OF SUPERVISED RELEASE                                Seattle, Washington 98101
      (Bobby Beasley, CR11-00411RSL) - 1                                          (206) 553-1100
              Case 2:11-cr-00411-RSL Document 24 Filed 12/21/15 Page 2 of 2




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     Presented by:
 2
     s/ Nancy Tenney
 3   Assistant Federal Public Defender
 4   Attorney for Bobby Beasley
     Office of the Federal Public Defender
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                                                        FEDERAL PUBLIC DEFENDER
      ORDER GRANTING MOTION FOR EARLY                      1601 Fifth Avenue, Suite 700
      TERMINATION OF SUPERVISED RELEASE                      Seattle, Washington 98101
      (Bobby Beasley, CR11-00411RSL) - 2                                (206) 553-1100
